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 3 SACRAMENTO, CALIFORNIA 95825
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 4 FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     LUCIO HERNANDEZ
 6
 7               IN THE UNITED STATES DISTRICT COURT FOR THE
 8                      EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,      )               CR.-S-07-268-FCD
10                                  )
          PLAINTIFF,                )               STIPULATION AND ORDER
11                                  )               TO CONTINUE STATUS CONFERENCE
          v.                        )               TO AUGUST 27, 2007
12                                  )
     LUCIO HERNANDEZ ,et al.,       )
13                                  )
                                    )
14        DEFENDANTS.               )
     _______________________________)
15
16         Plaintiff United States of America, by its counsel, Assistant United States
17   Attorney, Mr. Heiko Coppola and the defendants: Eliseo Gomez represented by his
18   attorney Mr. Matthew C. Bockmon; Jacinto Robles, represented by his attorney Mr.
19   Michael Hansen; Marco Robles-Guerrero represented by his attorney Ms. Dina L.
20   Santos; and Lucio Hernandez, represented by his attorney, Mr. James R. Greiner,
21   hereby stipulate and agree that the status conference calendared for Monday, July 23,
22   2007, at 10:00 a.m., before the Honorable District Court Judge Frank C. Damrell, Jr.,
23   shall be continued to Monday, August 27, 2007, at 10:00 a.m. This date was cleared
24   with the Court’s courtroom deputy clerk.
25         The parties stipulate and agree that time shall be excluded from the speedy trial
26   act from Monday, July 23, 2007, to and including Monday, August 27, 2007, under
27
28                                              1
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 1   Title 18 section 3161(h)(8)(B)(ii) and Local Code T-4 for attorney preparation in the
 2   case as all defense counsel are in the process of reviewing the discovery provided to
 3   the defense by the government. This also entails discussion with the clients (all of
 4   whom speak Spanish, thus requiring the need of an interpreter) of the discovery and
 5   the discussions with the client of the Federal Criminal Justice System.
 6                                    Respectfully submitted,
 7                                    McGREGOR W. SCOTT
                                      UNITED STATES ATTORNEY
 8
                                      /s/ Heiko Coppola by e mail authorization
 9   DATED: 7-19-07                   _____________________________________
                                      HEIKO COPPOLA
10                                    Assistant United States Attorney
                                      Attorneys for the Plaintiff
11
                                      /s/ Matthew C. Bockmon by telephone authorization
12   DATED: 7-19-07                   _____________________________________
                                      MATTHEW C. BOCKMON
13                                    Attorney for defendant Eliseo Gomez
14                                    /s/ Michael Hansen by e mail authorization
     DATED: 7-19-07                   ___________________________________________
15                                    MICHAEL HANSEN
                                      Attorney for defendant Jacinto Robles
16
                                      /s/ Dina L. Santos by e mail authorization
17   DATED: 7-19-07                   ________________________________________
                                      DINA L. SANTOS
18                                    Attorney for defendant Marco Robles-Guerrero
19                                    /s/ James R. Greiner
     DATED: 7-19-07                   _____________________________________
20                                    JAMES R. GREINER
                                      Attorney for defendant Lucio Hernandez
21
22                                          ORDER
23         FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
24
     DATED: JULY 19, 2007.
25
26                                          _______________________________________
                                            FRANK C. DAMRELL, JR.
27
                                            UNITED STATES DISTRICT JUDGE
28                                               2
